 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 1 of 57 Page ID #1




                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


LITTLE OMEGA,                         Case No. 3:21-cv-00297

     Plaintiff,                       CLASS ACTION COMPLAINT

v.                                    JURY TRIAL DEMANDED

BAYER CROPSCIENCE LP; BAYER
CROPSCIENCE, INC.; CORTEVA INC.;
CARGILL INCORPORATED; BASF
CORPORATION; SYNGENTA
CORPORATION; WINFIELD SOLUTIONS,
LLC; UNIVAR SOLUTIONS, INC.;
FEDERATED CO-OPERATIVES LTD.;
CHS INC.; NUTRIEN AG SOLUTIONS
INC.; GROWMARK INC.; SIMPLOT AB
RETAIL SUB, INC.; AND TENKOZ INC.,

     Defendants.
    Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 2 of 57 Page ID #2




       Plaintiff Little Omega brings this action on behalf of itself and on behalf of the classes

defined herein consisting of persons or entities in the United States, including its territories, that,

at least as early as January 1, 2014 and continuing through the present (the “Class Period”),

purchased a Crop Input, as defined herein, that was manufactured by a Manufacturer Defendant,

as defined herein. Plaintiff brings this action for treble damages under the antitrust laws of the

United States against Defendants, and demands a trial by jury.

                               I.    NATURE OF THE ACTION

       1.      The market for “Crop Inputs”—seeds and crop protection chemicals such as

fungicides, herbicides, and insecticides—used by American farmers is one of the largest markets

in the world with annual sales in excess of $65 billion.

       2.      This market is dominated by: (1) four major manufacturers, Defendants Bayer

CropScience Incorporated (“Bayer”), Corteva Incorporated (“Corteva”), Syngenta Corporation

(“Syngenta”), and BASF Corporation (“BASF”), (collectively, the “Manufacturer Defendants”);

(2) three large wholesalers, Defendants Cargill Incorporated (“Cargill”), Winfield Solutions, LLC

(“Winfield”), Univar Solutions, Incorporated (“Univar”) (collectively the “Wholesaler

Defendants”), that control the distribution of Crop Inputs to farmers; and (3) retailers, including

Defendants CHS Incorporated (“CHS”), Nutrien Ag Solutions Incorporated (“Nutrien”),

GROWMARK, Incorporated (“Growmark”), Simplot AB Retail Sub, Incorporated (“Simplot”),

Tenkoz Incorporated (“Tenkoz”), and Federated Co-operatives Limited (“Federated”)

(collectively the “Retailer Defendants”).1

       3.      Historically and continuing to the present, the existing distribution and sale process

for Crop Inputs maintains supra-competitive prices in part by denying farmers accurate product


1
  The Manufacturer Defendants, the Wholesaler Defendants, and the Retailer Defendants will be
referred to in this Complaint collectively as the “Defendants.”

                                                  1
   Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 3 of 57 Page ID #3




information, including pricing information, which would allow them to make better-informed

purchasing decisions. As a result, the average price American farmers pay for Crop Inputs is

increasing at a rate that dramatically outpaces yields.

           4.   As the Canadian Competition Commissioner stated, as part of an investigation of

several of the Defendants, “there is limited price transparency in the sale of Crop Inputs to growers

. . . .”

           5.   For example, over the last 20 years, the price of one type of Crop Input, seed corn,

rose 300%, while corn yields increased only 33% to 35%. In 1989, U.S. farms spent $15.6 billion

overall on chemicals, fertilizer, and seeds. This number rose to $59 billion in 2019, outpacing

inflation by 60%. Crop Inputs have consequently composed a larger share of farm budgets. In

1989, Crop Inputs composed 12.6% of farm expenditures; by 2019, Crop Inputs composed 16.4%

of farmer spending. These increases are proving increasingly devastating to farmers, who are now

the least profitable level of the American food supply chain and are drowning in hundreds of

billions of dollars of operating debt that is forcing them into bankruptcy at a record pace.

           6.   Recognizing these inefficiencies, several electronic Crop Inputs sales platforms

launched in at least the past decade. These electronic platforms aimed to provide a cheaper, more

transparent way for farmers to buy Crop Inputs, circumventing the existing opaque, convoluted

distribution system. For example, Farmers Business Network (“FBN”), a leading electronic sales

platform and Silicon Valley startup, was extremely popular with farmers upon launch, and has

successfully raised millions of dollars from leading venture capital firms to build out capacity to

meet that demand.

           7.   These new platforms threatened the Defendants’ dominant market position and

control over Crop Inputs pricing. As a result, rather than compete fairly with these new electronic




                                                  2
  Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 4 of 57 Page ID #4




platforms, Defendants conspired to block the platforms’ access to Crop Inputs by engaging in a

group boycott. For instance, the Manufacturer, Wholesaler, and Retailer Defendants repeatedly

blocked FBN’s access to Crop Inputs by agreeing among themselves not to sell products to FBN,

even though doing so would have opened a significant new sales channel for any individual

manufacturer, wholesaler, or retailer acting independently and would have been in the Defendants’

unilateral best economic interest.

       8.      When FBN attempted to circumvent this unlawful boycott by purchasing an

established retailer with existing supply agreements, the Defendants canceled those contracts,

starving FBN’s platform of necessary inputs by ensuring that FBN could not acquire the Crop

Inputs it needed to operate.

       9.      As the Canadian Competition Commissioner stated, “the conduct under inquiry

impedes or prevents FBN’s marketing of many significant branded Crop Inputs . . . .”

       10.     Given the structure of the Crop Inputs industry with the necessary relationships

between manufacturers, wholesalers, and retailers, an effective boycott of electronic platforms

would not have been feasible absent actual coordination and cooperation among Defendants.

Absent an agreement among themselves, Defendants’ actions were against their independent

economic self-interests.

       11.     As a result of Defendants’ misconduct, farmers remain trapped in an inefficient,

opaque Crop Inputs market and have paid more for Crop Inputs than they would have but for

Defendants’ wrongful conduct. Plaintiff and the Classes bring this antitrust suit to redress that

wrongful conduct.

                               II.   JURISDICTION AND VENUE

       10.     Plaintiff brings this action under Section 16 of the Clayton Act, 15 U.S.C. § 26, to

secure injunctive relief against Defendants for violating Section 1 of the Sherman Act, 15 U.S.C.


                                                3
  Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 5 of 57 Page ID #5




§ 1, and to recover actual and compensatory damages, treble damages, interest, costs, and

attorneys’ fees for the injury caused by Defendants’ wrongful conduct. Plaintiff also brings state

law class claims on behalf of the Classes to recover actual and/or compensatory damages, double

and treble damages as permitted, pre- and post- judgment interest, costs, and attorneys’ fees for

the injury caused by Defendants’ conduct.

       11.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1337(a) and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26. This Court

also has jurisdiction under 28 U.S.C. § 1332 because the amount in controversy for the Class

exceeds $5,000,000 and members of the Class are citizens of a different state than Defendants.

       12.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. § 15(a), and 28 U.S.C. § 1391(b), (c), and (d). One or more Defendants resided,

transacted business, were found, or had agents in this District, and a substantial portion of the

affected interstate trade and commerce described in this Complaint was carried out in this District.

       13.     This Court also has personal jurisdiction over each Defendant because, inter alia,

each Defendant: (a) transacted business throughout the United States, including in this District; (b)

manufactured, sold, shipped, and/or delivered substantial quantities of Crop Inputs throughout the

United States, including in this District; (c) had substantial contacts with the United States,

including in this District; and/or (d) engaged in an antitrust conspiracy that was directed at and had

a direct, foreseeable, and intended effect of causing injury to the business or property of persons

residing in, located in, or doing business throughout the United States, including in this District.

       14.     The activities of the Defendants and all co-conspirators, as described herein, were

within the flow of, were intended to, and did have direct, substantial, and reasonably foreseeable

effects on, the foreign and interstate commerce of the United States.




                                                  4
  Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 6 of 57 Page ID #6




                                      III.    PARTIES

       A.      Plaintiff

       15.     Plaintiff Little Omega is a partnership doing business and located in Mississippi.

During the Class Period and in Mississippi, Plaintiff purchased Crop Inputs for its own use in its

farming operation and not for resale that were manufactured by one or more Defendants or their

coconspirators, including, Roundup PowerMAX(r) II and Engenia(r), which were purchased

directly from one or more Defendants, including, Simplot AB Retail Sub, Inc. Plaintiff suffered

injury as a result of Defendants’ conduct alleged herein.

       B.      The Manufacturer Defendants

       16.     Bayer AG is a multinational pharmaceutical, chemical, and agriculture company. It

organizes itself into four divisions, each with its own management and corporate organization.

Legal entities within each division work together, follow a common strategy, and report up to the

same level of management.

       17.     Defendant Bayer CropScience Incorporated is a wholly-owned subsidiary of Bayer

AG headquartered in St. Louis, Missouri and incorporated in New York that develops,

manufactures, and sells Crop Inputs in the United States.

       18.     Defendant Bayer CropScience LP is a wholly-owned subsidiary of Bayer AG

headquartered in Research Triangle Park, North Carolina, and is a crop science company that sells

Crop Inputs in the United States.

       19.     Bayer CropScience Incorporated and Bayer CropScience LP both operate as part

of the Bayer Group’s Crop Science division.

       20.     Defendant Corteva Incorporated is a Delaware corporation headquartered in

Wilmington, Delaware, that develops, manufactures, and sells Crop Inputs in the United States.




                                                5
  Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 7 of 57 Page ID #7




       21.     Defendant BASF Corporation is a Delaware corporation headquartered in Florham

Park, New Jersey, and is the principal U.S.-based operating entity and largest subsidiary of BASF

SE, a multinational pharmaceutical, seed, and chemical company. BASF develops, manufactures,

and sells Crop Inputs in the United States.

       22.     Defendant Syngenta Corporation is a Delaware corporation and is the main U.S.-

based operating subsidiary of Syngenta AG. It is headquartered in Wilmington, Delaware.

Syngenta develops, manufactures, and sells Crop Inputs in the United States.

       C.      The Wholesaler Defendants

       23.     Defendant Cargill, Incorporated is a Delaware corporation headquartered in

Minnetonka, Minnesota. Cargill owns and operates a wholesaler AgResource Division, which

distributes Crop Inputs to Cargill’s retail network and to retailers. Cargill’s AgResource Division

maintains contracts with each of Bayer, Corteva, BASF, and Syngenta entitling it to purchase and

distribute branded Crop Inputs and entitling it to special rebates.

       24.     Defendant Winfield Solutions, LLC is a Delaware corporation headquartered in

Arden Hills, Minnesota. Winfield is a Crop Inputs wholesaler. It maintains contracts with each of

Bayer, Corteva, BASF, and Syngenta authorizing it to purchase and distribute branded Crop Inputs

and entitling it to special rebates. Winfield is also a major Crop Inputs retailer that operates as a

cooperative owned by its members, which are 650 Crop Inputs retail businesses operating 2,800

retail locations throughout the United States and parts of Canada.

       25.     Defendant Univar Solutions, Incorporated is a Crop Inputs wholesaler. Univar

maintains contracts with each of Bayer, Corteva, BASF, and Syngenta authorizing it to purchase

and distribute branded Crop Inputs and entitling it to special rebates. Univar is a domestic

corporation headquartered in Illinois and incorporated in Delaware.




                                                  6
  Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 8 of 57 Page ID #8




        D.      The Retailer Defendants

        26.     Defendant CHS Incorporated is one of the largest Crop Inputs wholesalers in the

United States. Like many large wholesalers, it also operates retail networks bearing the CHS brand

around the country that sell Crop Inputs from brick and mortar stores. CHS is incorporated and

headquartered in Inver Grove Heights, Minnesota.

        27.     CHS and the retail networks it operates maintain contracts with each of Bayer,

Corteva, BASF, and Syngenta authorizing it to purchase and distribute Crop Inputs and entitling

it to special rebates.

        28.     Defendant Nutrien Ag Solutions, Inc. is both a Crop Inputs wholesaler and the

largest Crop Inputs retailer in the United States. It sells Crop Inputs to farmers throughout the

country and maintains contracts with each of Bayer, Corteva, BASF, and Syngenta authorizing it

to purchase and distribute Crop Inputs and entitling it to special rebates. Nutrien is incorporated in

Delaware and has its principal place of business in Colorado.

        29.     Defendant GROWMARK, Incorporated, d/b/a Farm Supply or FS, is a large Crop

Inputs retailer headquartered in Illinois, with brick and mortar locations throughout the Midwestern

United States. Growmark is incorporated in Delaware. Growmark maintains contracts with each

of Bayer, Corteva, BASF, and Syngenta authorizing it to purchase and distribute Crop Inputs, and

entitling it to special rebates.

        30.     Defendant Tenkoz Inc. is one of the largest Crop Inputs retailers in the United

States. Tenkoz purchases and sells 25% of all crop protection chemicals sold in the United States

annually through 550 retail locations and 70 wholesale locations around the country. Tenkoz is

incorporated and headquartered in Georgia. Tenkoz maintains contracts with each of Bayer,

Corteva, BASF, and Syngenta authorizing it to purchase and distribute Crop Inputs and entitling

it to special rebates.


                                                  7
  Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 9 of 57 Page ID #9




       31.     Defendant Simplot AB Retail Sub, Incorporated, f/k/a Pinnacle Agriculture

Distribution, Incorporated, is a large Crop Inputs wholesaler and retailer that operates 135 retail

locations across 27 states. Simplot is headquartered and incorporated in Mississippi. Simplot

maintains contracts with each of Bayer, Corteva, BASF, and Syngenta authorizing it to purchase

and distribute Crop Inputs and entitling it to special rebates.

       32.     Defendant Federated Co-operatives Ltd. is a large Crop Inputs retailer. It maintains

contracts with each of Bayer, Corteva, BASF, and Syngenta authorizing it to purchase and

distribute Crop Inputs and entitling it to special rebates. Federated is under investigation by the

Canadian Competition Bureau for engaging in coordinated anticompetitive practices designed to

exclude competition in the Crop Inputs market.

                             IV.     TRADE AND COMMERCE

       33.     The Defendants’ business activities that are subject to this Complaint were within

the flow of and substantially affected interstate trade and commerce.

       34.     During the Class Period, the Defendants’ conduct and their co-conspirators’

conduct occurred in, affected, and foreseeably restrained interstate commerce of the United States.

                             V.    THE RELEVANT MARKETS

       35.     This action involves the markets for Crop Inputs, including the manufacture of Crop

Inputs, the wholesale market for Crop Inputs, and the retail sales market for Crop Inputs.

       36.     The relevant geographic market is the United States.

                             VI.    FACTUAL ALLEGATIONS

       A.      Industry Background

       37.     Farmers in the United States are facing an existential crisis, with operating expenses

skyrocketing while yields remain stagnant. At their peak prices in 2014, input costs jumped 67.5%

for planting soybeans, 72.1% for planting corn, and 56.3% for planting cotton, compared to the


                                                  8
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 10 of 57 Page ID #10




respective input costs in 1995. On the other hand, yields for soybeans and corn—the two most

planted field crops in the United States—increased by only 18.9% and 29.7%, respectively,

between 1995 and 2011.

       38.     In a 2018 survey, 80% of farmers reported that their costs had only continued to

increase. As a result, farmers cannot pay their outstanding operating debts—estimated at well over

$400 billion in 2019—and the rate of farm bankruptcies has accelerated, with declared farm

bankruptcies increasing by 24% from 2018 to 2019, the biggest yearly increase since the Great

Recession.

       39.     This steady cost increase is not attributable to escalating research and development

expenditures, which have decreased considerably over the past several years. Rather, it is the result

of inflated and unjustifiable increases in the prices farmers pay for Crop Inputs—the seeds and

chemicals such as fertilizer, insecticide, and herbicide used to produce a crop—and the

supracompetitive prices paid by farmers as a result of Defendants’ wrongful conduct, including

their group boycott of electronic distribution platforms as alleged in this Complaint.

       B.      The Crop Inputs Market is Characterized by a Lack of Pricing and Industry
               Transparency, Which Defendants Capitalize Upon in Their Business
               Practices.

       40.     These inflated prices persist—and wreak financial havoc on America’s farmers—

by Defendants’ design. The Crop Inputs market is structured, from top to bottom, to maximize

opacity and deny farmers access to the objective pricing data and product information they need

to make informed decisions about the Crop Inputs they buy. Farmers, through no fault of their

own, are unwittingly paying more for Crop Inputs than they would in a truly competitive market.

Farmers lack the objective information and data needed to gauge whether their investments are




                                                 9
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 11 of 57 Page ID #11




worthwhile, as well as any ability to purchase Crop Inputs without paying unnecessary overhead

to brick-and-mortar retailers and other costs.

        41.    This opacity begins at the very top of the Crop Inputs market, where the

Manufacturer Defendants who develop and produce between 75% and 90% of the most popular

Crop Inputs closely guard their product prices.

        42.    Then, to maintain that secrecy, Manufacturer Defendants allow only wholesalers,

including the Wholesaler Defendants, retailers the manufacturers own or operate, and retailers

such as the Retailer Defendants that are licensed “authorized retailers,” to sell the Manufacturer

Defendants’ Crop Inputs.

        43.    The Manufacturer Defendants’ contracts granting “authorized retailer” licenses

contain strict confidentiality provisions that require authorized retailers to keep confidential the

manufacturers’ prices, as well as any incentives, rebates, and commissions offered by the

manufacturers to their authorized retailers.

        44.    Manufacturer Defendants also use a tactic known as “seed relabeling” to capitalize

on farmers’ lack of objective performance data. Seed relabeling is the practice of taking seeds that

have been on the market under a given brand name for some time and repackaging the seeds under

a new brand name so that they can be sold at a new, higher price, even though the seeds are the

same.

        45.    Pricing is no more transparent at the retail level. To the contrary, wholesalers’

contracts with authorized retailers also contain strict confidentiality provisions. Retailers cannot

disclose to customers the price paid to the wholesaler for their Crop Inputs or the price at which

retailers sell those Crop Inputs to other farmers. To further muddy the market waters, retailers sell

Crop Inputs and related services (e.g., spraying or applying chemicals) in bundles, making it




                                                  10
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 12 of 57 Page ID #12




difficult—if not impossible—for farmers to discern the price they are charged for any individual

Crop Input or service.

       C.      The Rise of Electronic Crop Inputs Sales Platforms Threatened Defendants’
               Operations By Increasing Transparency and Access to Crop Inputs.

       46.      Recognizing the inefficiency of such an opaque Crop Inputs market, electronic

Crop Inputs sales platforms began emerging around in at least the past decade with the goal of

modernizing the market by, among other things, providing farmers with transparent pricing and

access to Crop Inputs directly from the Manufacturer Defendants, avoiding the opaque distribution

system controlled by the Wholesaler and Retailer Defendants.

        47.     At first, those efforts showed extraordinary promise, as farmers gravitated en masse

toward these electronic platforms in search of better, fairer prices for Crop Inputs. For example,

more than 12,000 farmers signed up for FBN’s service that provides objective performance data

on Crop Inputs, and 6,000 farmers signed up for FBN’s electronic platform that was designed to

sell Crop Inputs online. FBN overall has over 21,000 members, and most recently raised $250

million in Series F funding to continue its efforts “to improve the profitability of farming families

. . . for generations to come.”

        48.     The success of electronic platforms drew negative attention from the Wholesaler

and Retailer Defendants, which recognized these new entrants threatened their traditional role in

the Crop Inputs market, and more importantly, threatened their profit margins. FBN as an example

particularly stands out because of its popularity and potential to significantly disrupt traditional

Crop Inputs supply and pricing.

        49.     As a report published by CoBank, a cooperative partly owned by Crop Inputs

retailers and a major lender to grain cooperatives, explained, “Despite relatively low sales,

ecommerce companies pose a threat to brick-and-mortar ag retailers in two ways. First, any new



                                                 11
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 13 of 57 Page ID #13




competitor will erode sales and margins to some degree and second, e-commerce sites increase

transparency for product prices.” That price transparency would allow farmers to negotiate more

effectively with Crop Inputs retailers, thus eating into the retailers’ margins.

       D.      Faced with the Threat of Electronic Crops Inputs Sales Platforms, Defendants
               Conspired With One Another to Restrict the Electronic Platforms’ Ability to
               Successfully Compete in the Crop Inputs Market.

       50.     Upon learning about FBN’s 2016 entry into the U.S. market as an electronic Crop

Inputs sales platform, CHS officials distributed a letter to farmers attempting to discourage them

from using FBN, falsely claiming that although an electronic platform like FBN would be able to

offer the same products at cheaper prices, “FBN just does it with little overhead and without

returning any profits to you the farmer, while lining the pockets of investors and big data

companies like Google.”

       51.     Additionally, in 2016, Defendant Bayer secretly formed an internal task force

specifically to study the long-term competitive impact of FBN’s electronic platform.

       52.     On February 2, 2016, CropLife magazine, a trade publication published by

CropLife America (a trade association comprising of the major Crop Inputs manufacturers,

wholesalers, and retailers), echoed CoBank’s sentiments, and wrote repeatedly about the danger

electronic platforms posed to Crop Inputs retailers’ business model. CropLife stated it was

“concerned that the retailer could be disintermediated—a fancier and less draconian way of saying

[electronic platforms would] ‘cut out the middle man’—allowing growers to find product

conveniently and at a lower market price,” and decried “the devil known as ‘price

transparency,’” commenting that “[g]rowers were not really as interested in buying and selling and

storing product as they were in printing price lists off the Internet and waving them in their

retailer’s faces. Already low margins were about to race to the bottom.”




                                                 12
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 14 of 57 Page ID #14




       53.     In the same February 2, 2016 article, CropLife magazine criticized another

electronic platform in its article, XSAg.com (currently known as FarmTrade, LLC or

FarmTrade.com), one of the original electronic platform trailblazers that had launched to offer “a

virtual playing field” for the purchase and sale of certain Crop Inputs electronically, essentially

operating as a trading platform. CropLife described XSAg’s entry as a “punch [that] came out of

the shadows and landed a nasty body blow” to threaten retailers, but “[c]rop protection

manufacturers and the distribution channel eventually figured out how to do battle with the pricing

revelations XSAg brought to the market, but it was unnerving and unhappy time.”

       54.     In late fall 2017, CropLife’s PACE Advisory Council—a committee composed of

the “heads of major ag retailers, market suppliers, equipment makers, and other agricultural

analysts”—explicitly called out the threat posed by electronic platforms to retailers and

wholesalers at its annual meeting. CropLife’s coverage of the event reported that “three letters . . .

continually cropped up no matter what the topic of conversation happened to be – FBN (Farmers

Business Network). To say that all things related to FBN and its business practices dominated

much of the day-long event would be a gross understatement. Several members of the PACE

Council described how FBN had negatively affected their businesses during 2017 by cutting

into their already slim margins on various products.” One PACE Council member observed,

“I think it would be crazy, stupid to ignore [FBN]. Even if they end up going away, the business

model they’ve introduced to agriculture will probably be tried by someone else.”

       55.     In February 2018, CropLife reported on a local “huge price war in chemicals” in

Iowa in 2017 as a result of FBN competing in the market. A retailer competing with FBN urged

that “‘ag retailers need to get proactive’ in dealing with the threat of disintermediation.” Another

retailer noted that “as we get more competitive with the FBNs of the world, we’ll obviously have




                                                 13
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 15 of 57 Page ID #15




to cut back on services and support (at times). But what concerns me is when . . . the legal

implications of that is you are a big business now and the regulatory burden becomes more

significant.”

       56.      Defendants had a strong motive to conspire to preserve their opaque market

structure. If electronic platforms publicly published price lists for specific Crop Inputs, then the

Manufacturer, Wholesaler, and Retailer Defendants could no longer keep prices confidential and

charge inflated prices for identical Crop Inputs and/or maintain price opacity through seed

relabeling and bundling.

       57.      The Retailer Defendants and the Wholesaler Defendants knew that to retain their

market positions and maintain their profit margins, they had to exclude electronic platforms from

the market, so they conspired to cut off the platforms’ product supply. Because the Manufacturer

Defendants rely on the Retailer and Wholesaler Defendants to recommend and sell the

Manufacturer Defendants’ products to farmers, the Retailer and Wholesaler Defendants had to

convince the Manufacturer Defendants to agree not to supply FBN and other platforms in order to

make the boycott effective.

       58.      Subsequently, in 2016 through at least 2017 after FBN entered the market as an

electronic Crop Inputs sales platform, the Manufacturer Defendants complied with the Retailer

and Wholesaler Defendants’ demand and initiated a joint boycott of electronic platforms, including

of FBN, the target of CropLife’s report. As a result, when FBN reached out to the Manufacturer

and Wholesaler Defendants for Crop Inputs, they all refused to supply FBN, offering only

pretextual excuses for their refusal.

       59.      For example, in fall 2018, after Syngenta’s Head of Crop Protection Sales in the

U.S. learned that a small number of branded Crop Inputs had been sold on electronic platforms in




                                                14
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 16 of 57 Page ID #16




violation of Defendants’ boycott, he falsely claimed that electronic platforms would deliver

counterfeit products. He further claimed that “[w]hen online entities acquire products from sources

other than authorized dealers or contracted distributors, you’d better question and be concerned

about the quality.”

       60.     The Manufacturer Defendants refused to supply seed and pesticide products to FBN

in particular, and did not allow the electronic platform to sell products crucial to the U.S. Farm

Belt, such as Syngenta’s Force insecticide and Corteva’s Pioneer corn seed.

       61.     To ensure this boycott was successful, Defendants imposed strict penalties on

retailers who failed to fall in line. For example, in March 2018, after learning that some retailers

had sold seed and spray products to FBN despite the boycott, Syngenta initiated an audit of its

authorized retailers and brokers to identify and punish the retailers that had made those sales.

Syngenta’s Head of U.S. Crop Protection Sales wrote to sellers, “[w]e have concerns about product

integrity, stewardship, and regulatory compliance.”

       62.     Bayer, BASF, and Corteva similarly include mandatory language in their form

contracts with authorized retailers that allows them to audit authorized retailers’ books and records

and perform on-site inspections at any time. Bayer, BASF, and Corteva used these provisions to

ensure that electronic platforms could not secure branded Crop Inputs by buying from an

authorized retailer.

       63.     This backlash even extended to generic products (Crop Inputs that no longer retain

patent protection). A June 2018 Forbes article reported some generic chemical products

manufacturers are holding back on supplying FBN because they are “wary of angering their

existing sales channels [i.e., wholesalers and retailers].” One generic products manufacturer CEO

confirmed that “[i]n an ideal world, if I could flip the switch and sell to these guys, I would do it




                                                 15
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 17 of 57 Page ID #17




in a heartbeat.”

       64.     FBN has attempted to neutralize Defendants’ boycott in the U.S. by relying on

brokers, who sometimes have excess inventory to offload, in order to obtain name-brand Crop

Inputs to sell to American farmers. However, obtaining such inventory often comes at higher costs

than those paid by other retailers that are able to buy directly from manufacturers—therefore

inhibiting FBN’s ability to effectively bring price competition to the sector.

       65.     On March 27, 2018, in a further attempt to combat Defendants’ boycott, FBN

announced its purchase of Yorkton Distributors Ltd. (“Yorkton”), a Canada-based retailer with

decades-old supply agreements with Defendants Bayer, Syngenta, BASF, Corteva, and Winfield.

These agreements, if honored, would have provided FBN with Crop Inputs inventory to sell to

farmers at competitive prices.

       66.     Before purchasing Yorkton, in early 2018, FBN asked manufacturers whether they

would continue to supply Yorkton with their products if FBN purchased it, and “no one indicated

they’d be disfavorable.”

       67.     Yet after FBN’s purchase, the Wholesaler and Retailer Defendants threatened to

retaliate against the Manufacturer Defendants if they continued supplying Crop Inputs to Yorkton.

On March 31, 2018, four days after FBN announced its purchase of Yorkton, Federated warned

the new competitor would upend their business models, writing, “[h]ow our key manufacturing

partners decide to engage with this business will be closely observed by us and likely all of our

traditional retailing peers across Western Canada.”

       68.     Less than one week after Federated’s warning, on April 6, 2018, Univar emailed

retailers that it would refuse to supply its products to Yorkton or FBN, warning that the new

competition would decrease profit margins in the industry. Univar had informed FBN that Univar




                                                 16
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 18 of 57 Page ID #18




would no longer conduct business with the company beyond July 31, 2018, warning retailers, in

part: “FBN is a data company that wants to collect and aggregate data to eventually sell for a profit

to companies that will use the data to make farmers grow us food for nothing . . . If anyone thinks

socialism is going to feed the world[,] just call Russia first and see how that worked out.” Univar

further criticized FBN’s business model of bringing market transparency to farmers, declaring that

“[m]argin compression is not the way to a brighter future and that is all FBN is currently offering.”

       69.     Faced with threats of retaliation from wholesalers and retailers, the Manufacturer

Defendants agreed to boycott Yorkton and abruptly canceled their longstanding supply contracts

within only a few months of its March 2018 acquisition by FBN, causing Yorkton to lose twothirds

of its branded products. Bayer, Corteva, and Cargill informed FBN they would no longer sell Crop

Inputs, including seeds and pesticides to Yorkton.

       70.     Like Defendants’ boycott in the U.S., Defendants’ boycott in the Canadian market

was also successful. FBN was forced to lease Yorkton to a Canadian retailer to balance its large

investment losses, although Yorkton continues to face boycotts by its former suppliers because of

FBN’s ownership. In July 2020, after being unable to compete effectively in the U.S. and Canadian

Crop Inputs market due to Defendants’ collusive conduct, FBN acquired an Australian electronic

platform in an effort to try to compete in the Australian Crop Inputs market.

       71.     In the U.S., FBN has not been able to sell name-brand Crop Inputs with the

exception of obtaining occasional excess products from brokers. As a result, FBN is only able to

rely on suppliers of generic Crop Inputs, but many farmers have concerns about generic products’

quality. Additionally, as discussed above, the effect of Defendants’ wrongful conduct has extended

into the generic market, further stifling FBN’s options. FBN, starved of Crop Inputs, has since

begun developing its own products, including seeds, herbicides, and insecticides, to sell to farmers




                                                 17
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 19 of 57 Page ID #19




through its electronic platform. Due to high costs for developing Crop Inputs, FBN had to lay off

employees, and as of August 2020, has yet to turn a profit.

       72.     As a result of the Retailer, Wholesaler, and Manufacturer Defendants’ coordinated

actions, farmers were deprived of the opportunity to purchase Crop Inputs at transparent, lower

prices from electronic platforms. Instead, they are forced to continue paying artificially high prices

for Crop Inputs purchased from local retailers subject to Defendants’ confidentiality requirements.

       E.      The Structure and Characteristics of the Crop Inputs Market Render the
               Conspiracy Economically Plausible.

       73.     Defendants’ actions took place in the context of multiple plus factors that facilitated

their conspiratorial agreement.

       74.     First, the market for Crop Inputs is highly concentrated. BASF, Corteva, Syngenta,

and Bayer AG dominate production in virtually every Crop Inputs category because they hold the

patents for the genetic traits and crop protection chemicals that work best with popular branded

seeds. As a result, they control 85% of the corn seed market, more than 75% of the soybean seed

market, and over 90% of the cotton seed market. The wholesale market is just as concentrated,

with seven wholesalers accounting for 70% of all sales volume.

       75.     Second, Defendants had numerous opportunities for inter-firm communications to

form and maintain their conspiracy through trade association participation.

       76.     As noted above, CropLife America is a trade association that comprises major Crop

Inputs manufacturers, wholesalers, and retailers. CropLife’s Board of Directors meets annually to

discuss developments in the Crop Inputs market and has specifically discussed the entry of

electronic platforms.

       77.     CropLife’s Board of Directors is chaired by an executive from one of the

Manufacturer Defendants—currently BASF’s Paul Rea, and previously Corteva’s Suzanne



                                                 18
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 20 of 57 Page ID #20




Wasson. For the 2016 to 2019 term, CropLife’s Board of Directors also included executives from

Defendants Bayer, CHS, Growmark, Tenkoz, and Simplot. Although CropLife America’s

longtime CEO claims that “the work of our Board of Directors is imperative to making sure that

farmers have access to crop protection technology today and in the future,” there is not a single

representative from farming groups on CropLife America’s Board of Directors. Instead, the Board

of Directors exclusively comprises representatives from large Crop Inputs manufacturers,

distributors, and retailers, making it an ideal vehicle for collusion. Because no farming

representatives are allowed to participate, these meetings provide a forum for collusion.

       78.     The Agricultural Retailers Association (“ARA”) hosts an annual in-person industry

conference every year, which is attended by representatives from all major Crop Inputs retailers,

as well as representatives from each Defendant. These industry conferences provide ample

opportunity for Defendants to not only agree among themselves how to block electronic platforms

from emerging, but also to coordinate with the other levels of the distribution chain. In fact, as

noted above, the threat posed by FBN was the primary discussion topic at the PACE Advisory

Council’s 2017 annual meeting.

       79.     Third, several Defendants are antitrust recidivists. Competition experts have noted

that past experience with participating in cartels enables companies to spot opportunities to

profitably engage in anticompetitive conduct while evading detection. Competition Policy

International maintains a list of the “fifty-two leading recidivists,” in which BASF and Bayer are

among the top five leading antitrust recidivists. Corteva is also on the list.

       80.     Most recently, Defendants’ exclusion of FBN drew the attention of Canada’s

Competition Bureau (“CCB”), which is formally investigating Defendants for collusion under

Section 10 of the Competition Act Canada (R.S.C., 1985, c. C-34). The inquiry is focused on the




                                                  19
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 21 of 57 Page ID #21




conduct of Federated Co-operatives Limited, Cargill Limited, Winfield United Canada ULC,

Univar Canada Ltd., BASF Canada Inc., Corteva Inc. and/or its affiliates, and Bayer CropScience

Inc. and its wholly-owned subsidiary Monsanto Canada ULC in the seed and crop protection

markets. The CCB is investigating whether those entities engaged in practices reviewable under

Part VIII of the Competition Act Canada.

       81.     In the course of the CCB investigation, on February 11, 2020, a Canadian federal

court granted in full ex parte applications made by Canada’s Commissioner of Competition for the

production of records against Cargill Limited, Winfield United Canada ULC, Univar Canada Ltd.,

BASF Canada Inc., Bayer CropScience Inc. and its wholly-owned subsidiaries Monsanto Canada

ULC and Production Agriscience Canada Company, Pioneer Hi-Bred Canada Company and Dow

Agrisciences Canada Inc. relating to those practices.

       82.     Critically, and over Defendants’ objections, the Canadian federal court found

sufficient evidence to require Defendants to produce records concerning their coordinated

anticompetitive conduct in the United States as well. The United States Department of Justice is

monitoring the Competition Bureau’s investigation and is deciding whether to launch its own

investigation into Defendants’ concerted refusal to supply electronic platforms with Crop Inputs.

       83.     Fourth, given the structure of the Crop Inputs industry with the necessary

relationships between manufacturers, wholesalers, and retailers, an effective boycott of electronic

platforms would not have been feasible absent actual coordination and cooperation among

Defendants. The boycott would only work if each Manufacturer Defendant agreed to the plan;

otherwise, the Manufacturer Defendant that broke from the boycott could have established itself

as the primary supplier to electronic platforms and grown its customer base by operating a new

distribution channel for its Crop Inputs, taking market share from its rival manufacturers.




                                                20
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 22 of 57 Page ID #22




       84.     For these reasons, absent an agreement among them, Defendants’ actions were

against their independent economic self-interest. For any one or more of the Defendants to provide

Crop Inputs to electronic platforms presented a significant business opportunity because those

platforms: (1) represented well-financed customers ready to purchase Crop Inputs in bulk quantity

from a Manufacturer or Wholesaler Defendant; (2) would simplify the distribution channel and

permit Manufacturer Defendants to retain more profit by reducing or eliminating the need for

transport costs, rebates, and incentive programs to wholesalers and retailers; and (3) presented an

opportunity for an individual Manufacturer Defendant to increase profits by growing its market

share through sales to farmers nationwide, not merely where its authorized retailers were located

or enjoyed the largest market share within a specific geographic area.

                              VII.    ANTITRUST IMPACT

       85.     Defendants’ conduct has substantially impaired competition in the retail sale

market for Crop Inputs by excluding electronic platforms, including FBN, from competing in that

market.

       86.     Defendants’ conduct in boycotting and preventing electronic platforms from

competing in the retail sales market for Crop Inputs lacks any procompetitive justification.

Moreover, the harm to competition and the resulting antitrust injury—suffered by both farmers

and other consumers of Crop Inputs—more than offsets any procompetitive justifications

Defendants may offer.

                             VIII.    ANTITRUST INJURY

       87.     Plaintiff and Class Members have suffered antitrust injury as a direct result of

Defendants’ unlawful conduct.

       88.     By impairing competition in the retail sales market for Crop Inputs, and by

excluding electronic platforms from competing in that market, Defendants have artificially raised


                                                21
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 23 of 57 Page ID #23




the prices paid by farmers for Crop Inputs, and ultimately the prices paid by consumers for farm

products, including corn and grain.

                         IX.     CLASS ACTION ALLEGATIONS

       89.     Plaintiff brings this action on behalf of himself and as a class action under the

provisions of Rules 23(a) and (b) of the Federal Rules of Civil Procedure, on behalf of members

of the following Plaintiff Classes:

               A.      All persons or entities residing in the United States, including its territories,
                       from at least as early as January 1, 2014 and continuing through the present
                       (the “Class Period”), that purchased from a Defendant a Crop Input
                       manufactured by a Manufacturer Defendant; and

               B.      All persons or entities residing in the United States, including its territories,
                       that, during the Class Period, purchased from a retailer other than a Retailer
                       Defendant a Crop Input manufactured by a Manufacturer Defendant.

       90.     Excluded from the Classes are Defendants; their officers, directors, management,

employees, subsidiaries, affiliates, and coconspirators; and any persons or entities that purchased

Crop Inputs solely for resale to others. Also excluded are any federal, state, or local governmental

entities, any judicial officers presiding over this action; their law clerks and spouses; any persons

within three degrees of relationship to those living in the judicial officers’ household; and the

spouses of all such persons.

       91.     Members of the Classes are so numerous and geographically dispersed that joinder

is impracticable. Further, members of the Classes are readily identifiable from information and

records in Defendants’ possession.

       92.     Plaintiff’s claims are typical of the claims of the members of the Classes. Plaintiff

and members of the Classes were damaged by the same wrongful conduct of Defendants.




                                                 22
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 24 of 57 Page ID #24




       93.     Plaintiff will fairly and adequately protect and represent the interests of members

of the Classes. The interests of the Plaintiff are coincident with, and not antagonistic to, those of

members of the Classes.

       94.     Plaintiff is represented by counsel with experience in the prosecution and leadership

of class action antitrust and other complex litigation, including class actions involving group

boycotts and conspiracy claims.

       95.     Questions of law and fact common to the members of the Classes predominate over

questions that may affect only individual Class members, thereby making damages with respect to

members of the Classes as a whole appropriate. Questions of law and fact common to members of

the Classes include, but are not limited to:

               a.      Whether Defendants conspired to unreasonably restrain trade in violation
                       of federal antitrust laws;

               b.      The scope and duration of the alleged conspiracy;

               c.      Injury suffered by Plaintiff and members of the Classes;

               d.      Damages suffered by Plaintiff and members of the Classes; and

               e.      Whether Defendants have acted or refused to act on grounds generally
                       applicable to members of the Classes, thereby making appropriate final
                       injunctive relief or corresponding declaratory relief with respect to
                       members of the Classes as a whole.

       96.     Class action treatment is a superior method for the fair and efficient adjudication of

the controversy. Such treatment will permit a large number of similarly situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of evidence, effort, or expense that numerous individual actions would

require.

       97.     The benefits of proceeding through the class mechanism, including providing

injured persons or entities a method for obtaining redress on claims that could not practicably be


                                                 23
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 25 of 57 Page ID #25




pursued individually, substantially outweigh potential difficulties in management of this class

action.

          98.    Plaintiff knows of no special difficulty to be encountered in the maintenance of this

action that would preclude its maintenance as a class action.

          99.    Plaintiff has defined members of the Classes based on currently available

information and hereby reserves the right to amend the definition of members of the Classes,

including, without limitation, the Class Period.

                             X.    STANDING TO SEEK RELIEF

          100.   The members of the Classes have purchased directly from a participant in the

conspiracy in restraint of trade between the Manufacturer and Wholesaler Defendants and their

Retailer Defendant co-conspirators, or from an authorized retailer that is in the control of the

Manufacturer and Wholesaler Defendants by virtue of the terms of the authorized-retailer licenses

dictated by the Manufacturer Defendants. As a consequence, the members of the Classes have

standing to pursue damages inflicted by the conspiracies under Article III of the United States

Constitution and Section 4(a) of the Clayton Act, 15 U.S.C. § 15(a).

          101.   By engaging in the conspiracy alleged in this Complaint, the Manufacturer

Defendants, Wholesaler Defendants, and Retailer Defendants have kept a market structure in place

that benefits each of them at the expense of farmers. As the first purchasers injured by the

Defendants’ anticompetitive conduct, Plaintiff and the members of the Classes have standing as

direct purchasers under Section 4(a) of the Clayton Act, 15 U.S.C. § 15(a).

          102.   The members of the Classes also have standing to seek injunctive relief pursuant to

Section 16 of the Clayton Act, 15 U.S.C. § 26, because the conspiracies have inflicted or threatened

to inflict harm on them, thereby making appropriate final injunctive relief, or corresponding

declaratory relief, for the Classes as a whole.


                                                   24
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 26 of 57 Page ID #26




       103.    The members of the Classes also have standing to seek declaratory relief under 28

U.S.C. §§ 2201 and 2202 because there is an actual, present, and justiciable controversy that has

arisen between members of the Classes and all Defendants concerning whether Defendants and

other co-conspirators have conspired in restraint of trade.

       XI.     EQUITABLE TOLLING AND FRAUDULENT CONCEALMENT

       104.    Any applicable statute of limitations for Plaintiff and the Classes has been tolled

with respect to any claims and rights of action that Plaintiff and the Classes have as a result of the

unlawful combination and conspiracy alleged in this Complaint. Defendants are equitably

estopped from asserting a statute of limitations defense by reason of Defendants’ and their

coconspirators’ concealment of the conspiracy.

       105.    Group boycotts and other antitrust violations are inherently self-concealing.

Throughout the Class Period, Defendants and their co-conspirators effectively, affirmatively, and

fraudulently concealed their unlawful combination and conspiracy from Plaintiff and the Classes.

       106.    Plaintiff and the Classes could not have uncovered the conspiracy earlier using

reasonable diligence because of the deceptive practices and techniques of secrecy employed by

Defendants and their co-conspirators to conceal their combination.

       107.    As discussed above, the Crop Inputs market, from top to bottom, is structured to

maximize opacity and deny farmers access to objecting pricing data and product information

farmers need to make informed decisions about the Crop Inputs they purchase. Further, the

Manufacturer Defendants, Retailer Defendants, and Wholesaler Defendants use confidentiality

provisions in their contracts to restrict disclosure of Crop Inputs prices. The Defendants use

additional tactics such as seed relabeling and bundle sales to further muddy the market waters and

prevent farmers, including Plaintiff and the Classes, from learning about the Crop Inputs market.

       108.    Plaintiff and the Classes were not placed on actual or constructive notice of the


                                                 25
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 27 of 57 Page ID #27




conspiracy alleged herein until the Canadian Competition Bureau launched its inquiry and issued

its subpoenas in February 2020.

                                XII.     CAUSES OF ACTION

                             VIOLATION OF THE SHERMAN ACT

                           COUNT I: Conspiracy to Restrain Trade in
                        Violation of § 1 of the Sherman Act (15 U.S.C. § 1)

       109.      Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       110.      Beginning at a time currently unknown to Plaintiff, but at least as early as January

1, 2014 (further investigation and discovery may reveal an earlier date), and continuing through

the present, the exact dates being unknown to Plaintiff, Defendants and their co-conspirators

entered into a continuing agreement, understanding, and conspiracy, in restraint of trade artificially

to raise, fix, maintain, and/or stabilize prices for Crop Inputs in the United States, in violation of

Section I of the Sherman Act, 15 U.S.C. § 1.

       111.      In formulating and carrying out the alleged agreement, understanding, and

conspiracy, the Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth

above, and the following, among others: engaged in a combination or conspiracy in restraint of

trade to artificially raise, fix, maintain, and/or stabilize prices for Crop Inputs that Defendants sold

to Plaintiff and members of the Classes, principally but not exclusively, by jointly boycotting

entities that would have introduced price-reducing electronic purchasing of Crop Inputs in the

United States.

       112.      This conspiracy is a per se violation of Section 1 of the Sherman Antitrust Act, 15

U.S.C. § 1.



                                                  26
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 28 of 57 Page ID #28




       113.    Alternatively, this conspiracy is a “quick look” or rule of reason violation of Section

1 of the Sherman Antitrust Act. There is no legitimate business justification for, or pro-competitive

benefits attributable to, Defendants’ conspiracy and overt acts in furtherance thereof. Any

proffered business justification or asserted pro-competitive benefits would be pre-textual,

outweighed by the anticompetitive effects of Defendants’ conduct, and in any event, could be

achieved by means less restrictive than the conspiracy and overt acts alleged herein.

       114.    Plaintiff and members of the Classes directly purchased Crop Inputs from

Defendants and their co-conspirators at supra-competitive prices, suffering antitrust injury and

damages as a material, direct, and proximate result of Defendants’ conspiracy and overt acts in

furtherance thereof.

       115.    Plaintiff and members of the Classes have been injured in their business and

property by reason of Defendants’ violation of Section 1 of the Sherman Act, within the meaning

of Section 4 of the Clayton Antitrust Act, 15 U.S.C. § 15.

       116.    Plaintiff and members of the Classes are threatened with future injury to their

business and property by reason of Defendants’ continuing violation of Section 1 of the Sherman

Act, within the meaning of Section 16 of the Clayton Antitrust Act, 15 U.S.C. § 26.

       117.    Plaintiffs and members of the Classes are entitled to recover for the injury caused

by Defendants’ wrongful conduct and to an injunction against Defendants, preventing and

restraining the violations alleged herein.

                       VIOLATIONS OF STATE ANTITRUST LAWS

                       COUNT II: Arizona Uniform State Antitrust Act
                            Ariz. Rev. Stat. §§ 44-1401, et seq.
                            (On Behalf of the Arizona Class)

       118.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations




                                                 27
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 29 of 57 Page ID #29




set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       119.    The Arizona Uniform State Antitrust Act prohibits any contract, combination or

conspiracy between two or more persons in restraint of, or to monopolize, trade or commerce, any

part of which is within the state of Arizona.

       120.    Defendants entered into a contract, combination, or conspiracy in restraint of, or to

monopolize, trade or commerce in the Crop Inputs market, a substantial part of which occurred

within Arizona.

       121.    Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce, for the purpose of excluding competition or controlling, fixing

or maintaining prices in the Crop Inputs market.

       122.    Defendants’ violations of Arizona law were flagrant.

       123.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects on Arizona’s trade and commerce, including increased prices and costs, reduced

innovation, poorer customer service, and lowered output.

       124.    As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

members of the Arizona Class were injured in their business or property in a manner that the

Arizona Uniform State Antitrust Act was intended to prevent when they paid more for Crop Inputs

than they would have paid in a competitive market. Plaintiff and members of the Arizona Class

have suffered and continue to suffer damages and irreparable injury, and such damages and injury

will not abate until an injunction ending Defendants’ anticompetitive conduct issues.




                                                 28
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 30 of 57 Page ID #30




                             COUNT III: California Cartwright Act
                             Cal. Bus. & Prof. Code §§ 16700, et seq.
                              (On Behalf of the California Class)

       125.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       126.    The California Business & Professions Code generally governs conduct of

corporate entities. The Cartwright Act, Cal. Bus. & Prof. Code §§ 16700-16770, governs antitrust

violations in California. California policy is that “vigorous representation and protection of

consumer interests are essential to the fair and efficient functioning of a free enterprise market

economy,” including by fostering competition in the marketplace.

       127.    Under the Cartwright Act, a “combination” is formed when the anticompetitive

conduct of a single firm coerces other market participants to involuntarily adhere to the

anticompetitive scheme.

       128.    Members of the California Class purchased Crop Inputs within the state of

California during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop

Inputs would have been lower, in an amount to be determined at trial.

       129.    Defendants enacted a combination of capital, skill, or acts for the purpose of

creating and carrying out restrictions in trade or commerce or to prevent market competition in

violation of Cal. Bus. & Prof. Code §§ 16700 et seq.

       130.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects, including increased prices and costs, reduced innovation, poorer customer service and

lowered output.

       131.    Plaintiff and members of the California Class were injured in their business or

property by Defendants’ anticompetitive conduct in a manner that the Cartwright Act was intended



                                                 29
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 31 of 57 Page ID #31




to prevent when they paid more for Crop Inputs than they would have paid in a competitive market.

Plaintiff and members of the California Class have suffered and continue to suffer damages and

irreparable injury, and such damages and injury will not abate until an injunction ending

Defendants’ anticompetitive conduct issues. Plaintiff and members of the California Class are also

entitled to all other forms of relief, including treble damages, interest, and reasonable attorneys’

fees and costs.

                                COUNT IV: Hawaii Antitrust Laws
                                Haw. Rev. Stat. Ann. §§ 480-1, et seq.
                                  (On Behalf of the Hawaii Class)

       132.       Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       133.       Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of Haw. Rev. Stat. §§ 480-1, et seq.

       134.       Defendants’ unlawful conduct and practices have substantial anticompetitive

effects on Hawaii’s commerce and consumers, including increased prices and costs, reduced

innovation, poorer customer service, and lowered output. Plaintiff and members of the Hawaii

Class were deprived of free and open competition and paid supra-competitive, artificially inflated

prices for Crop Inputs.

       135.       As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff and

members of the Hawaii Class were injured in their business or property in a manner that Hawaii’s

antitrust laws were intended to prevent when they paid more for Crop Inputs than she would have

paid in a competitive market. Plaintiff and members of the Hawaii Class have suffered and

continue to suffer damages and irreparable injury, and such damages and injury will not abate until

an injunction ending Defendants’ anticompetitive conduct issues.



                                                   30
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 32 of 57 Page ID #32




                                COUNT V: Illinois Antitrust Act
                             740 Ill. Comp. Stat. Ann. 10/3(1), et seq.
                                 (On Behalf of the Illinois Class)

       136.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       137.    The Illinois Antitrust Act, 740 ILCS 10/1, et seq., aims “to promote the unhampered

growth of commerce and industry throughout the State by prohibiting restraints of trade which are

secured through monopolistic or oligarchic practices and which act or tend to act to decrease

competition between and among persons engaged in commerce and trade.”

       138.    Members of the Illinois Class purchased Crop Inputs within the State of Illinois

during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

       139.    Defendants made contracts or engaged in a combination or conspiracy with one

another, for the purpose of fixing, controlling, or maintaining prices for Crop Inputs, sold in

violation of the Illinois Antitrust Act, 740 ILCS 10/1, et seq.

       140.    Defendants further unreasonably restrained trade or commerce and established,

maintained, or attempted to acquire monopoly power over the market for Crop Inputs in Illinois

for the purpose of excluding competition in violation of 740 ILCS 10/1, et seq.

       141.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects on Illinois’s trade and commerce, including increased prices and costs, reduced innovation,

poorer customer service, and lowered output.

       142.    Plaintiff and members of the Illinois Class were harmed by Defendants’

anticompetitive conduct in a manner that the Illinois Antitrust Act was intended to prevent when

they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff and



                                                 31
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 33 of 57 Page ID #33




members of the Illinois Class suffered and continue to suffer damages and irreparable injury, and

such damages and injury will not abate until an injunction ending Defendants’ anticompetitive

conduct issues. Plaintiff and members of the Illinois Class are also entitled to all other forms of

relief, including actual damages, treble damages, and reasonable attorneys’ fees and costs.

                               COUNT VI: Iowa Competition Law
                                   Iowa Code §§ 553.1, et seq.
                                 (On Behalf of the Iowa Class)

       143.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       144.    The Iowa Competition Law aims to “prohibit[] restraint of economic activity and

monopolistic practices.”

       145.    Plaintiff and members of the Iowa Class purchased Crop Inputs within the State of

Iowa during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

       146.    Defendants contracted, combined, or conspired to restrain or monopolize trade in

the market for Crop Inputs, and attempted to establish or did in fact establish a monopoly for the

purpose of excluding competition or controlling, fixing, or maintaining prices for Crop Inputs, in

violation of Iowa Code §§ 553.1, et seq.

       147.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Iowa, including increased prices and costs, reduced innovation, poorer customer service,

and lowered output.

       148.    Plaintiff and members of the Iowa Class were harmed by Defendants’

anticompetitive conduct in a manner that the Iowa Competition Law was intended to prevent when

they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff and



                                                 32
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 34 of 57 Page ID #34




members of the Iowa Class have suffered and continue to suffer damages and irreparable injury,

and such damages and injury will not abate until an injunction ending Defendants’ anticompetitive

conduct issues. Plaintiff and members of the Iowa Class are also entitled to all other forms of relief,

including actual damages, exemplary damages for willful conduct, and reasonable attorneys’ fees

and costs.

                       COUNT VII: Kansas Restraint of Trade Act Kan.
                               Stat. Ann. §§ 50-101, et seq.
                             (On Behalf of the Kansas Class)

        149.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

        150.    The Kansas Restraint of Trade Act aims to prohibit practices which, inter alia, “tend

to prevent full and free competition in the importation, transportation or sale of articles imported

into this state.”

        151.    Members of the Kansas Class purchased Crop Inputs within the State of Kansas

during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

        152.    Defendants combined capital, skill, or acts for the purpose of creating restrictions

in trade or commerce of Crop Inputs, increasing the price of Crop Inputs, preventing competition

in the sale of Crop Inputs, and precluded free and unrestricted competition among themselves in

the sale of Crop Inputs, in violation of Kan. Stat. Ann. §§ 50-101, et seq.

        153.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Kansas, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

        154.    Plaintiff and members of the Kansas Class was harmed by Defendants’



                                                  33
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 35 of 57 Page ID #35




anticompetitive conduct in a manner that the Kansas Restraint of Trade Act was intended to

prevent when they paid more for Crop Inputs than they would have paid in a competitive market.

Plaintiff and members of the Kansas Class have suffered and continue to suffer damages and

irreparable injury, and such damages and injury will not abate until an injunction ending

Defendants’ anticompetitive conduct issues. Plaintiff and members of the Kansas Class are also

entitled to all other forms of relief, including actual damages and reasonable attorneys’ fees and

costs.

                      COUNT VIII: Maine Monopoly & Profiteering Laws
                         Me. Rev. Stat. Ann. Tit. 10 §§ 1101, et seq.
                             (On Behalf of the Maine Class)

         155.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

         156.   Part 3 of Title 10 of the Maine Revised Statutes generally governs regulation of

trade in Maine. Chapter 201 thereof governs monopolies and profiteering, generally prohibiting

contracts in restraint of trade and conspiracies to monopolize trade.

         157.   Members of the Maine Class purchased Crop Inputs within the State of Maine

during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

         158.   Defendants contracted, combined, or conspired in restraint of trade or commerce of

Crop Inputs within the intrastate commerce of Maine, and monopolized or attempted to

monopolize the trade or commerce of Crop Inputs within the intrastate commerce of Maine, in

violation of Me. Rev. Stat. Ann. Tit. 10, §§ 1101, et seq.

         159.   Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Maine, including increased prices and costs, reduced innovation, poorer customer



                                                 34
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 36 of 57 Page ID #36




service, and lowered output.

       160.    Plaintiff and members of the Maine Class were harmed by Defendants’

anticompetitive conduct in a manner that Maine’s monopoly and profiteering laws were intended

to prevent when they paid more for Crop Inputs than they would have paid in a competitive market.

Plaintiff and members of the Maine Class have suffered and continue to suffer damages and

irreparable injury, and such damages and injury will not abate until an injunction ending

Defendants’ anticompetitive conduct issues. Plaintiff and members of the Maine Class are also

entitled to all other forms of relief, including actual damages, treble damages, and reasonable

attorneys’ fees and costs.

                               COUNT IX: Maryland Antitrust Laws
                               Md. Code, Com. Law §§ 11-201, et seq.
                                (On Behalf of the Maryland Class)

       161.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       162.    Maryland’s antitrust laws prohibit inter alia, combinations that unreasonably

restrain trade or commerce, and the monopolization or attempted monopolization of any part of

the trade or commerce for the purpose of excluding competition or of controlling, fixing, or

maintaining prices in trade or commerce.

       163.    Members of the Maryland Class purchased Crop Inputs within the state of

Maryland during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop

Inputs would have been lower, in an amount to be determined at trial. Defendants’ unlawful

conduct and practices have substantial anticompetitive effects in Maryland, including increased

prices and costs, reduced innovation, poorer customer service, and lowered output.

       164.    Plaintiff and members of the Maryland Class were harmed by Defendants’



                                                 35
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 37 of 57 Page ID #37




anticompetitive conduct in a manner that the Maryland antitrust laws were intended to prevent

when they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff

and members of the Maryland Class suffered and continue to suffer damages and irreparable

injury, and such damages and injury will not abate until an injunction ending Defendants’

anticompetitive conduct issues. Plaintiff and members of the Maryland Class are also entitled to

all other forms of relief, including actual damages, treble damages, and reasonable attorneys’ fees

and costs.

                          COUNT X: Michigan Antitrust Reform Act
                            Mich. Comp. Laws §§ 445.771, et seq.
                             (On Behalf of the Michigan Class)

        165.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

        166.    The Michigan Antitrust Reform Act aims “to prohibit contracts, combinations, and

conspiracies in restraint of trade or commerce . . . to prohibit monopolies and attempts to

monopolize trade or commerce . . . [and] to provide remedies, fines, and penalties for violations

of this act.”

        167.    Members of the Michigan Class purchased Crop Inputs within the state of Michigan

during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

        168.    Defendants contracted, combined, or conspired to restrain or monopolize trade or

commerce in the market for Crop Inputs, in violation of Mich. Comp. Laws §§ 445.772, et seq.

        169.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Michigan, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.



                                                 36
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 38 of 57 Page ID #38




       170.    Plaintiff and members of the Michigan Class were harmed by Defendants’

anticompetitive conduct in a manner that the Michigan Antitrust Reform Act was intended to

prevent when they paid more for Crop Inputs than they would have paid in a competitive market.

Plaintiff and members of the Michigan Class suffered and continue to suffer damages and

irreparable injury, and such damages and injury will not abate until an injunction ending

Defendants’ anticompetitive conduct issues. Plaintiff and members of the Michigan Class are also

entitled to all other forms of relief, including actual damages, treble damages for flagrant

violations, interest, costs, and reasonable attorneys’ fees and costs.

                         COUNT XI: Minnesota Antitrust Law of 1971
                              Minn. Stat. §§ 325D.49, et seq.
                            (On Behalf of the Minnesota Class)

       171.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       172.    The Minnesota Antitrust Law of 1971 aims to prohibit any contract, combination,

or conspiracy when any part thereof was created, formed, or entered into in Minnesota; any

contract, combination, or conspiracy, wherever created, formed or entered into; any establishment,

maintenance, or use of monopoly power; and any attempt to establish, maintain, or use monopoly

power, whenever any of these affect Minnesota trade or commerce.

       173.    Members of the Minnesota Class purchased Crop Inputs within the state of

Minnesota during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop

Inputs would have been lower, in an amount to be determined at trial.

       174.    Defendants contracted, combined, or conspired in unreasonable restraint of trade or

commerce in the market for Crop Inputs within the intrastate commerce of and outside of

Minnesota; established, maintained, used, or attempted to establish, maintain, or use monopoly



                                                  37
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 39 of 57 Page ID #39




power over the trade or commerce in the market for Crop Inputs within the intrastate commerce of

and outside of Minnesota; and fixed prices for Crop Inputs within the intrastate commerce of and

outside of Minnesota, in violation of Minn. Stat. §§ 325D.49, et seq.

       175.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Minnesota, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

       176.    Plaintiff and members of the Minnesota Class were harmed by Defendants’

anticompetitive conduct in a manner that the Minnesota Antitrust Law of 1971 was intended to

prevent when they paid more for Crop Inputs than they would have paid in a competitive market.

Plaintiff and members of the Minnesota Class have suffered and continue to suffer damages and

irreparable injury, and such damages and injury will not abate until an injunction ending

Defendants’ anticompetitive conduct issues. Plaintiff and members of the Minnesota Class are also

entitled to all other forms of relief, including actual damages, treble damages, costs and

disbursements, and reasonable attorneys’ fees.

                            COUNT XII: Mississippi Antitrust Laws
                              Miss. Code Ann. § 74-21-1, et seq.
                             (On Behalf of the Mississippi Class)

       177.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       178.    Title 75 of the Mississippi Code regulates trade, commerce, and investments.

Chapter 21 thereof generally prohibits trusts and combines in restraint or hindrance of trade, with

the aim that “trusts and combines may be suppressed, and the benefits arising from competition in

business [are] preserved” to Mississippians.

       179.    Trusts are combinations, contracts, understandings or agreements, express or



                                                 38
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 40 of 57 Page ID #40




implied, when inimical to the public welfare and with the effect of, inter alia, restraining trade,

increasing the price or output of a commodity, or hindering competition in the production or sale

of a commodity.

       180.    Members of the Mississippi Class purchased Crop Inputs within the state of

Mississippi during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop

Inputs would have been lower, in an amount to be determined at trial.

       181.    Defendants combined, contracted, understood and agreed in the market for Crop

Inputs, in a manner inimical to public welfare, with the effect of restraining trade, increasing the

price of Crop Inputs and hindering competition in the sale of Crop Inputs, in violation of Miss.

Code Ann. §§ 75-21-1(a), et seq.

       182.    Defendants monopolized or attempted to monopolize the production, control or sale

of Crop Inputs, in violation of Miss. Code Ann. §§ 75-21-3, et seq.

       183.    Defendants’ Crop Inputs are sold throughout the State of Mississippi. During the

Class Period, Defendants’ illegal conduct substantially affected Mississippi commerce.

       184.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Mississippi, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

       185.    Plaintiff and members of the Mississippi Class were harmed by Defendants’

anticompetitive conduct in a manner that Mississippi’s antitrust laws were intended to prevent

when they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff

and members of the Mississippi Class have suffered and continue to suffer damages and irreparable

injury, and such damages and injury will not abate until an injunction ending Defendants’




                                                39
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 41 of 57 Page ID #41




anticompetitive conduct issues. Plaintiff and members of the Mississippi Class are also entitled to

all other forms of relief, including actual damages and a penalty of $500 per instance of injury.

                               COUNT XIII: Nebraska Junkin Act
                                Neb. Rev Stat. §§ 59-801, et seq.
                               (On Behalf of the Nebraska Class)

       186.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       187.    Chapter 59 of the Nebraska Revised Statute generally governs business and trade

practices. Sections 801 through 831 thereof, known as the Junkin Act, prohibit antitrust violations

such as restraints of trade and monopolization.

       188.    Members of the Nebraska Class purchased Crop Inputs within the state of Nebraska

during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

       189.    Defendants contracted, combined, or conspired in restraint of trade or commerce of

Crop Inputs within the intrastate commerce of Nebraska, and monopolized or attempted to

monopolize the market for beef within the intrastate commerce of Nebraska by possessing

monopoly power in the market and willfully maintaining that power through agreements to fix

prices and otherwise control trade, in violation of Neb. Rev. Stat. §§ 59-801, et seq.

       190.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Nebraska, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

       191.    Plaintiff and members of the Nebraska Class were harmed by Defendants’

anticompetitive conduct in a manner that Nebraska’s Junkin Act was intended to prevent when

they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff and



                                                  40
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 42 of 57 Page ID #42




members of the Nebraska Class have suffered and continue to suffer damages and irreparable

injury, and such damages and injury will not abate until an injunction ending Defendants’

anticompetitive conduct issues. Plaintiff and members of the Nebraska Class are also entitled to

all other forms of relief, including actual damages or liquidated damages in an amount which bears

a reasonable relation to the actual damages which have been sustained, as well as reasonable

attorneys’ fees and costs.

                       COUNT XIV: Nevada Unfair Trade Practices Act
                            Nev. Rev Stat. §§ 598A.010, et seq.
                            (On Behalf of the Nevada Class)

       192.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       193.    The Nevada Unfair Trade Practice Act (“NUTPA”) states that “free, open and

competitive production and sale of commodities . . . is necessary to the economic well-being of

the citizens of the State of Nevada.”

       194.    The policy of NUTPA is to prohibit acts in restraint of trade or commerce, to

preserve and protect the free, open, and competitive market, and to penalize all persons engaged

in anticompetitive practices. Such acts include, inter alia, price fixing, division of markets,

allocation of customers, and monopolization of trade.

       195.    Members of the Nevada Class purchased Crop Inputs within the state of Nevada

during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

       196.    Defendants fixed prices for Crop Inputs in Nevada, principally but not exclusively

by jointly boycotting entities that would have resulted in price reductions, and monopolized or

attempted to monopolize trade or commerce of Crop Inputs within the intrastate commerce of



                                                 41
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 43 of 57 Page ID #43




Nevada, constituting a contract, combination, or conspiracy in restraint of trade in violation of

Nev. Rev. Stat. Ann. § 598A, et seq.

         197.   Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Nevada, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

         198.   Plaintiff and members of the Nevada Class were harmed by Defendants’

anticompetitive conduct in a manner that Nevada’s Unfair Trade Practices Act was intended to

prevent when they paid more for Crop Inputs than they would have paid in a competitive market.

Plaintiff and members of the Nevada Class suffered and continue to suffer damages and irreparable

injury, and such damages and injury will not abate until an injunction ending Defendants’

anticompetitive conduct issues. Plaintiff and members of the Nevada Class are also entitled to all

other forms of relief, including actual damages, treble damages, and reasonable attorneys’ fees and

costs.

         199.   In accordance with the requirements of Nev. Rev. Stat. Ann. § 598A.210(3), notice

of this action was mailed to the Nevada Attorney General by Plaintiff.

                        COUNT XV: New Hampshire Antitrust Statute
                         N.H. Rev. Stat. Ann. Tit. XXXI § 356, et seq.
                          (On Behalf of the New Hampshire Class)

         200.   Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

         201.   Title XXXI of the New Hampshire Statutes generally governs trade and commerce.

Chapter 356 thereof governs combinations and monopolies and prohibits restraints of trade.

         202.   Members of the New Hampshire Class purchased Crop Inputs within the state of

New Hampshire during the Class Period. But for Defendants’ conduct set forth herein, the price



                                                 42
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 44 of 57 Page ID #44




of Crop Inputs would have been lower, in an amount to be determined at trial.

       203.    Defendants fixed prices for Crop Inputs in New Hampshire, principally but not

exclusively by jointly boycotting entities that would have resulted in price reductions, and

monopolized or attempted to monopolize trade or commerce of Crop Inputs within the intrastate

commerce of New Hampshire, constituting a contract, combination, or conspiracy in restraint of

trade in violation of N.H. Rev Stat. Ann. §§ 356:1, et seq.

       204.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in New Hampshire, including increased prices and costs, reduced innovation, poorer

customer service, and lowered output.

       205.    Plaintiff and members of the New Hampshire Class were harmed by Defendants’

anti-competitive conduct in a manner that the New Hampshire Consumer Protection Act was

intended to prevent when they paid more for Crop Inputs than they would have paid in a

competitive market. Plaintiff and members of the New Hampshire Class have suffered and

continue to suffer damages and irreparable injury, and such damages and injury will not abate until

an injunction ending Defendants’ anticompetitive conduct issues. Plaintiff and members of the

New Hampshire Class are also entitled to all other forms of relief, including actual damages, treble

damages for willful or flagrant violations, and reasonable attorneys’ fees and costs.

                            COUNT XVI: New Mexico Antitrust Act
                               N.M. Stat. Ann. §§ 57-1-1, et seq.
                             (On Behalf of the New Mexico Class)

       206.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       207.    The New Mexico Antitrust Act aims to prohibit restraints of trade and monopolistic

practices.



                                                 43
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 45 of 57 Page ID #45




       208.    Members of the New Mexico Class purchased Crop Inputs within the state of New

Mexico during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop

Inputs would have been lower, in an amount to be determined at trial.

       209.    Defendants contracted, agreed, combined or conspired, and monopolized or

attempted to monopolize trade for Crop Inputs within the intrastate commerce of New Mexico, in

violation of N.M. Stat. Ann. § 57-1-1, et seq.

       210.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in New Mexico, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

       211.    Plaintiff and members of the New Mexico Class were harmed by Defendants’

anticompetitive conduct in a manner that the New Mexico Antitrust Act was intended to prevent

when they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff

and members of the New Mexico Class have suffered and continue to suffer damages and

irreparable injury, and such damages and injury will not abate until an injunction ending

Defendants’ anticompetitive conduct issues. Plaintiff and members of the New Mexico Class are

also entitled to all other forms of relief, including actual damages, treble damages, and reasonable

attorneys’ fees and costs.

                             COUNT XVII: New York Donnelly Act
                               N.Y. Gen. Bus. Law §§ 340, et seq.
                              (On Behalf of the New York Class)

       212.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       213.    Article 22 of the New York General Business Law generally prohibits monopolies

and contracts or agreements in restraint of trade, with the policy of encouraging competition or the



                                                 44
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 46 of 57 Page ID #46




free exercise of any activity in the conduct of any business, trade, or commerce in New York.

       214.    Members of the New York Class purchased Crop Inputs within the state of New

York during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

       215.    Defendants established or maintained a monopoly within the intrastate commerce

of New York for the trade or commerce of Crop Inputs and restrained competition in the free

exercise of the conduct of the business of Crop Inputs within the intrastate commerce of New

York, in violation of New York’s Donnelly Act, N.Y. Gen. Bus. Law §§ 340, et seq.

       216.    Defendants’ conduct and practices have substantial anticompetitive effects in New

York, including increased prices and costs, reduced innovation, poorer customer service, and

lowered output.

       217.    Plaintiff and members of the New York Class were harmed by Defendants’

anticompetitive conduct in a manner that New York’s Donnelly Act was intended to prevent when

they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff and

members of the New York Class suffered and continue to suffer damages and irreparable injury,

and such damages and injury will not abate until an injunction ending Defendants’ anticompetitive

conduct issues. Plaintiff and members of the New York Class are also entitled to all other forms

of relief, including actual damages, treble damages, costs not exceeding $10,000, and reasonable

attorneys’ fees.

                        COUNT XVIII: North Carolina Antitrust Laws
                               N.C. Gen. Stat. §§ 75-1, et seq.
                          (On Behalf of the North Carolina Class)

       218.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.



                                                 45
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 47 of 57 Page ID #47




       219.    Defendants entered into a contract or combination in the form of trust or otherwise,

or conspiracy in restraint of trade or commerce in the Crop Inputs market, a substantial part of

which occurred within North Carolina.

       220.    Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the Crop Inputs market, for the purpose of affecting

competition or controlling, fixing, or maintaining prices, a substantial part of which occurred

within North Carolina.

       221.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects on North Carolina’s trade and commerce, including increased prices and costs, reduced

innovation, poorer customer service, and lowered output.

       222.    As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff and

members of the North Carolina Class were injured in their business or property in a manner that

the North Carolina antitrust laws were intended to prevent when they paid more for Crop Inputs

than they would have paid in a competitive market. Plaintiff and members of the North Carolina

Class have suffered and continue to suffer damages and irreparable injury, and such damages and

injury will not abate until an injunction ending Defendants’ anticompetitive conduct issues.

Plaintiff and members of the North Carolina Class are also entitled to all other forms of relief,

including treble damages.

                   COUNT XIX: North Dakota Uniform State Antitrust Act
                           N.D. Cent. Code §§ 51-08.1, et seq.
                         (On Behalf of the North Dakota Class)

       223.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       224.    The North Dakota Uniform State Antitrust Act generally prohibits restraints on or



                                                 46
 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 48 of 57 Page ID #48




monopolization of trade.

       225.    Members of the North Dakota Class purchased Crop Inputs within the state of North

Dakota during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop

Inputs would have been lower, in an amount to be determined at trial.

       226.    Defendants contracted, combined, or conspired in restraint of, or to monopolize

trade or commerce in the market for Crop Inputs, and established, maintained, or used a monopoly,

or attempted to do so, for the purposes of excluding competition or controlling, fixing, or

maintaining prices for Crop Inputs, in violation of N.D. Cent. Code §§ 51-08.1-02, 03.

       227.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in North Dakota, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

       228.    Plaintiff and members of the North Dakota Class were harmed by Defendants’

anticompetitive conduct in a manner that the North Dakota Uniform State Antitrust Act was

intended to prevent when they paid more for Crop Inputs than they would have paid in a

competitive market. Plaintiff and members of the North Dakota Class have suffered and continue

to suffer damages and irreparable injury, and such damages and injury will not abate until an

injunction ending Defendants’ anticompetitive conduct issues. Plaintiff and members of the North

Dakota Class are also entitled to all other forms of relief, including actual damages, treble damages

for flagrant violations, and reasonable attorneys’ fees.

                               COUNT XX: Oregon Antitrust Law
                                Or. Rev. Stat. §§ 646.705, et seq.
                                (On Behalf of the Oregon Class)

       229.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.




                                                 47
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 49 of 57 Page ID #49




          230.   Chapter 646 of the Oregon Revised Statutes generally governs business and trade

practices within Oregon. Sections 705 and 899 thereof govern antitrust violations, with the policy

to “encourage free and open competition in the interest of the general welfare and economy of the

state.”

          231.   Members of the Oregon Class purchased Crop Inputs within the state of Oregon

during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop Inputs

would have been lower, in an amount to be determined at trial.

          232.   Defendants contracted, combined, or conspired in restraint of trade or commerce of

Crop Inputs, and monopolized or attempted to monopolize the trade or commerce of Crop Inputs,

in violation of Or. Rev. Stat. §§ 646.705, et seq.

          233.   Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Oregon, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

          234.   Plaintiff and members of the Oregon Class were harmed by Defendants’

anticompetitive conduct in a manner that the Oregon Antitrust Law was intended to prevent when

they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff and

members of the Oregon Class suffered and continue to suffer damages and irreparable injury, and

such damages and injury will not abate until an injunction ending Defendants’ anticompetitive

conduct issues. Plaintiff and members of the Oregon Class are also entitled to all other forms of

relief, including actual damages, treble damages, reasonable attorneys’ fees, and expert witness

fees and investigative costs.




                                                 48
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 50 of 57 Page ID #50




                         COUNT XXI: South Dakota Antitrust Statute
                            S.D. Codified Laws § 37-1-3.1, et seq.
                           (On Behalf of the South Dakota Class)

       235.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       236.    Chapter 37-1 of the South Dakota Codified Laws prohibits restraint of trade,

monopolies, and discriminatory trade practices.

       237.    Members of the South Dakota Class purchased Crop Inputs within the state of South

Dakota during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop

Inputs would have been lower, in an amount to be determined at trial.

       238.    Defendants contracted, combined, or conspired in restraint of trade or commerce of

Crop Inputs within the intrastate commerce of South Dakota, and monopolized or attempted to

monopolize trade or commerce of Crop Inputs within the intrastate commerce of South Dakota, in

violation of S.D. Codified Laws §§ 37-1, et seq.

       239.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in South Dakota, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

       240.    Plaintiff and members of the South Dakota Class were harmed by Defendants’

anticompetitive conduct in a manner that South Dakota’s antitrust laws were intended to prevent

when they paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff

and members of the South Dakota Class have suffered and continue to suffer damages and

irreparable injury, and such damages and injury will not abate until an injunction ending

Defendants’ anticompetitive conduct issues. Plaintiff and members of the South Dakota Class are

also entitled to all other forms of relief, including actual damages, treble damages, and reasonable



                                                  49
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 51 of 57 Page ID #51




attorneys’ fees.

                         COUNT XXII: Tennessee Trade Practices Act
                             Tenn. Code §§ 47-25-101, et seq.
                            (On Behalf of the Tennessee Class)

       241.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       242.    The Tennessee Trade Practices Act generally governs commerce and trade in

Tennessee, and it prohibits, inter alia, all arrangements, contracts, agreements, or combinations

between persons or corporations made with a view to lessen, or which tend to lessen, full and free

competition in goods in Tennessee. All such arrangements, contracts, agreements, or combinations

between persons or corporations designed, or which tend, to increase the prices of any such goods,

are against public policy, unlawful, and void.

       243.    Members of the Tennessee Class purchased Crop Inputs within the state of

Tennessee during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop

Inputs would have been lower, in an amount to be determined at trial.

       244.    Defendants competed unfairly and colluded by meeting to fix prices, principally

but not exclusively by jointly boycotting entities that would have resulted in price reductions, and

otherwise restrain trade as set forth herein, in violation of Tenn. Code, §§ 47-25-101, et seq.

       245.    Defendants’ conduct detailed above violated the Tennessee Trade Practices Act

because it was an arrangement, contract, agreement, or combination to lessen full and free

competition in goods in Tennessee, and because it tended to increase the prices of goods in

Tennessee.

       246.    Defendants’ unlawful conduct and practices have substantial anticompetitive effect

on Tennessee commerce, including increased prices and costs, reduced innovation, poorer



                                                 50
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 52 of 57 Page ID #52




customer service, and lowered output. Plaintiff and members of the Tennessee Class were deprived

of free and open competition and paid supra-competitive, artificially inflated prices of Crop Inputs.

       247.    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff and

members of the Tennessee Class were injured in their business or property in a manner that the

Tennessee Trade Practices Act was intended to prevent when they paid more for Crop Inputs than

they would have paid in a competitive market. Plaintiff and members of the Tennessee Class have

suffered and continue to suffer damages and irreparable injury, and such damages and injury will

not abate until an injunction ending Defendants’ anticompetitive conduct issues. Plaintiff and

members of the Tennessee Class are also entitled to all other forms of relief, including return of

the unlawful overcharges they paid on their purchases, damages, equitable relief, and reasonable

attorneys’ fees.

                              COUNT XXIII: Utah Antitrust Act
                              Utah Code Ann. §§ 76-10-911, et seq.
                                 (On Behalf of the Utah Class)

       248.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       249.    The Utah Antitrust Act aims to “encourage free and open competition in the interest

of the general welfare and economy of this state by prohibiting monopolistic and unfair trade

practices, combinations and conspiracies in restraint of trade or commerce.” Members of the Utah

Class purchased Crop Inputs within the state of Utah during the Class Period. But for Defendants’

conduct set forth herein, the price of Crop Inputs would have been lower, in an amount to be

determined at trial.

       250.    Defendants contracted, combined, or conspired in restraint of trade or commerce of

Crop Inputs, and monopolized or attempted to monopolize trade or commerce of Crop Inputs, in



                                                 51
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 53 of 57 Page ID #53




violation of Utah Code Ann. §§ 76-10-3101, et seq.

       251.    Defendants’ unlawful conduct and practices have substantial anticompetitive effect

in Utah, including increased prices and costs, reduced innovation, poorer customer service, and

lowered output.

       252.    Plaintiff and members of the Utah Class were harmed by Defendants’

anticompetitive conduct in a manner that the Utah Antitrust Act was intended to prevent when they

paid more for Crop Inputs than they would have paid in a competitive market. Plaintiff and

members of the Utah Class suffered and continue to suffer damages and irreparable injury, and

such damages and injury will not abate until an injunction ending Defendants’ anticompetitive

conduct issues. Plaintiff and members of the Utah Class are also entitled to all other forms of relief,

including actual damages, treble damages, costs of suit, and reasonable attorneys’ fees.

                     COUNT XXIV: Vermont Consumer Protection Laws
                            9 Vt. Stat. Ann. §§ 2451, et seq.
                           (On Behalf of the Vermont Class)

       253.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       254.    Title 9, Chapter 063 of the Vermont Consumer Protection Laws is “to complement

the enforcement of federal statutes and decisions governing unfair methods of competition, unfair

or deceptive acts or practices, and anti-competitive practices in order to protect the public and to

encourage fair and honest competition.”

       255.    Defendants fixed prices for Crop Inputs in Vermont, principally but not exclusively

by jointly boycotting entities that would have resulted in price reductions, and monopolized or

attempted to monopolize trade or commerce of Crop Inputs within the intrastate commerce of




                                                  52
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 54 of 57 Page ID #54




Vermont, constituting unfair methods of competition in commerce in violation of 9 Vt. Stat. Ann.

§§ 2451, et seq.

       256.    Defendants’ unlawful conduct and practices have substantial anticompetitive

effects in Vermont, including increased prices and costs, reduced innovation, poorer customer

service, and lowered output.

       257.    Plaintiff and members of the Vermont Class were harmed by Defendants’

anticompetitive conduct in a manner that the Vermont consumer protection laws were intended to

prevent when they paid more for Crop Inputs than they would have paid in a competitive market.

Plaintiff and members of the Vermont Class suffered and continue to suffer damages and

irreparable injury, and such damages and injury will not abate until an injunction ending

Defendants’ anticompetitive conduct issues. Plaintiff and members of the Vermont Class are also

entitled to all other forms of relief, including actual damages, treble damages, and reasonable

attorneys’ fees.

                          COUNT XXV: Wisconsin Trade Regulations
                             Wis. Stat. Ann. §§ 133.01(1), et seq.
                             (On Behalf of the Wisconsin Class)

       258.    Plaintiff restates, re-alleges, and incorporates by reference each of the allegations

set forth in the preceding paragraphs of this Complaint as if fully set forth herein.

       259.    Chapter 133 of the Wisconsin Statutes governs trust and monopolies, with the intent

“to safeguard the public against the creation or perpetuation of monopolies and to foster and

encourage competition by prohibiting unfair and discriminatory business practices which destroy

or hamper competition.”

       260.    Members of the Wisconsin Class purchased Crop Inputs within the state of

Wisconsin during the Class Period. But for Defendants’ conduct set forth herein, the price of Crop



                                                 53
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 55 of 57 Page ID #55




Inputs would have been lower, in an amount to be determined at trial.

          261.    Defendants contracted, combined, or conspired in restraint of trade or commerce of

Crop Inputs, and monopolized or attempted to monopolize the trade or commerce of Crop Inputs,

with the intention of injuring or destroying competition therein, in violation of Wis. Stat. §§

133.01, et seq.

          262.    Defendants’ unlawful conduct and practices have substantial effects in Wisconsin,

including increased prices and costs, reduced innovation, poorer customer service, and lowered

output.

          263.    As a direct, foreseeable, and proximate cause of Defendants’ unlawful conduct,

Plaintiff and members of the Wisconsin Class were harmed in a manner that Wisconsin’s trade

regulations were intended to prevent when they paid more for Crop Inputs than they would have

paid in a competitive market. Plaintiff and members of the Wisconsin Class have suffered and

continue to suffer damages and irreparable injury, and such damages and injury will not abate until

an injunction ending Defendants’ anticompetitive conduct issues. Plaintiff and members of the

Wisconsin Class are also entitled to all other forms of relief, including actual damages, treble

damages, and reasonable attorneys’ fees.

          264.    Defendants are jointly and severally liable for all damaged suffered by Plaintiff and

members of the Wisconsin Class.

                                XIII.     PRAYER FOR RELIEF

          Plaintiff, on behalf of himself and the classes of all others so similarly situated, respectfully

requests judgment against Defendants as follows:

          A.      That the Court certify this lawsuit as a class action under Rules 23(a) and (b)(3) of

the Federal Rules of Civil Procedure, that Plaintiff be designated as class representative, that

Plaintiff’s counsel of record be appointed as Class counsel, and that the Court direct that notice of


                                                     54
Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 56 of 57 Page ID #56




this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the

Class, once certified;

       B.      That the unlawful conduct, conspiracy, or combination alleged herein be adjudged

and decreed to violate Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1 and the listed state

antitrust laws, unfair competition laws, state consumer protection laws, and common law;

       C.      That Defendants, their affiliates, successors, transferees, assignees, and other

officers, directors, partners, agents and employees thereof, and all other persons acting or claiming

to act on their behalf or in concert with them, be permanently enjoined and restrained from in any

manner continuing, maintaining, or renewing the conduct, conspiracy, or combination alleged in

the Complaint, or from entering into any other conspiracy or combination having a similar purpose

or effect, and from adopting or following any practice, plan, program, or device having a similar

purpose or effect under Section 16 of the Clayton Antitrust Act, 16 U.S.C. § 26;

       D.      That the Court award Plaintiff and the Class damages against Defendants for their

violation of federal and state antitrust laws, in an amount to be trebled under § 4 of the Clayton

Antitrust Act, 15 U.S.C. § 15, plus interest;

       E.      That the Court award Plaintiff and the Class their costs of suit, including reasonable

attorneys’ fees and expenses, including expert fees, as provided by law;

       F.      That the Court award Plaintiff and the Class pre- and post- judgment interest as

provided by law and that such interest be awarded at the maximum rate allowable by law from and

after the date of service of this Complaint; and

       G.      That the Court direct such other and further relief as the case may require and the

Court may deem just and proper.




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 Case 3:21-cv-00297-GCS Document 1 Filed 03/16/21 Page 57 of 57 Page ID #57




                             XV.      DEMAND FOR JURY TRIAL

           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a jury

trial as to all issues triable by a jury.

Dated: March 16, 2021                         BARRETT LAW GROUP, P.A.


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                                                56
